Case 2:18-cV-02643-AB Document 2 Filed 08/02/18 Page 1 of 7

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRIGGS LAW OFFICE, LLC,

Plaintiff,
v.
CIVIL CASE
STANTON S. KREMSKY : NO. 18-CV-2643
& ¢
SSK MD, Inc.,

Defendants. : AFFIDAVIT OF SERVICE

 

I, NORMAN W. BRIGGS, hereby depose and say that I did Serve a true and Correct
copy of the Complaint in reference to the above-Captioned matter upon defendants,
Stanton S. Kremsky and SSK MD, INC., on July 12, 2018, via Orange County Ca]ifornia

Sheriff Department (notan'zed Proofs of Service attached hereto).

CAWUmz)/M @WZ<;_»\

NORMAN W. BRIGGSLW
Attorney for Plaintiff

SWorn to and Subscribed

before me this@l\$;.\" day

of 201
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NOTA`RY PUBLIC

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" THERESA PoRTER
Notary Public
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My Commlsslon Explres Jun 23. 2018

 

Case 2:18-cv-02643-AB Document2 Filed 08/02/18 PageZof? .‘

 

ATTORNEY (Name and Address): SBN: FOR COURT USE ONLY

Briggs Law Office

400 Market Street

Suite 730

Philadelphia, PA 19106

E-MA|L:

ATTORNEY FoR; Briggs Law Office, LLC
NAME oF couRT, JuchiAi_ DisrRicT or BRANCH couRT, iF ANY:

 

c/o Briggs Law office
400 Market Street

Suite 730

Philade|phia, PA 19106

 

PLA|NT|FFI COURT CASE NO.:

Briggs Law Office, LLC
DEFENDANT: 18-2643

Stanton S Kremsky SSK MD, |nc.

 

LEVY|NG OFF|CER F|LE NO.:

Proof of Service - Summons 2018509967

 

 

 

1. At the time of the service l was at least 18 years of age and not a party to this action.

2. l served copies of the:
f. other (specify documents): Comp|aint,Exhibits,Summons

3. a. Party served: Stanton S. Kremsky

4. Address Where party Was served: 10102 Bever|y Drive
Huntington Beach, CA 92646

5. l served the party:

a. by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to receive
service of the process for the party (‘l) on: 07/12/2018 (2) at: 10:00 Al\/l.

6. The Notice to the Person Served (on summons) Was completed as follows:
a. as an individual defendant

7. Person Who served papers:
a. Name: D. RlOS, #5890
b. Address: Sheriff‘s Civi| Division Suite 2 909 N. Main Street Santa Ana, CA 92701
c. Telephone Number: (714) 569-3700
d. The fee for service Was: $40.00 plus additional costs of $17.25

8. l declare under penalty of perjury under the laws of the State of Ca|ifornia that the regoing is true and correct.

Tuesday, July 17, 2018 §,@O
Sheriff‘s Au' orized Agent

Hearing: <N°'nf°rmati°n> Sandra tchens,Sheriff-Coroner

Remarks

Judicial Council form POS-O10 Attorney/P|aintiff

 

 

 

l Case 2:18-cv-02643-AB Document2 Filed 08/02/18 PageSof?

Briggs Law Office

400 l\/larl<et Street

Suite 730

Philade|phia, PA 19106

*** This certificate ONLY for out of state courts ***
CERT|F|CATE OF ACKNOWLEDGEMENT

 

 

 

 

 

 

_ _ A notary public or other officer completing this certificate verifies only
State °f Ca"f°""a the identity ofthe individual who signed the document to which this
COU"'W Of Orange certificate is attached, and not the tmthfulness, accuracyl or validity of
that documentl
On jiin ,beforeme C,|i/)§i(`/i G;icilW/wu, I\i(`)'i"(/W:j P()b'l€, ,
personally appeared D R l 08 '_H’: §§ q (> d , who proved to me on the basis

 

of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that
he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the

person(s), or the entity upon behalf of which the person(s) acted, executed the instrument

l certify under PENALTY of PERJURY under the laws of the state of California that the foregoing paragraph is true and correct

(NOTARY SEAL) WlTNESS my hand and official seal.

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w _U

  
 
 
 
 

    

-CIND¥ GA`ROlA
Commlsslon # 2116638
Notary Putiilc - California §

Orango County -‘

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}' ‘ ' ’ M¥ Comm. Exelres J_un 21. 2019{

Case 2:18-cv-O2643-AB Document 2 Filed 08/02/18 Page 4 of 7

PROPERTY RECORDS

HUGH NGUYEN BlRTHANDDEAl`HRECORDS
CLERK-RECORDER MARR|AGEL|CENSES/RECORDS
PASSPORTS

F|CT|T|OUS BUS|NESS NAl\/\ES
NOTARY REG|STRAT|ON
vOl`\’ANGE COUNTYARCl-l|\/E$

 

NOTARY AUTHENTICATION

State of California
County of Orange}

l, Hugh Nguyen, County Clerl<~Recorder of the County of Orange, State of California, in and for said
County DO HEREBY CERTIFY THAT Cindy Garcia was, on J unc 22, 2015 a duly commissioned,
qualified and acting NOTARY PUBLIC, in the State of California, County of Orange, empowered to act
as such Notary in any part of this State and authorized to take the acknowledgment or proof of
powers of attorney, mortgages, deeds, grants, transfers, and other instruments of writing
executed by any person, and to take depositions and affidavits and administer oaths and
affirmations in all matters incident to the duties of the office or to be used before any court,
judge, officer, or board.

l FURTHER CERTIFY that the seal affixed or impressed on the attached document is the
official seal of said Notary Public and it appears that the name subscribed thereon is the genuine
signature of the person aforesaid, his (or her) signature being of record in this office.

fn Witness Whereof, l execute this certificate and have hereunto set my hand and affixed the seal
of said County on 24th Day of July, 2018

   

 

Hugh Nguyen, Clerl< ~ Recorder '“" (Seal)
52
W' ;%/7
By /O’\ ' 0 ' ,Deputy Clerk
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NORTHCOUNTYBRANCHOFF|CE ORANGECOUNTY SOUTHCOUNTYBR/\NCHOFF|CE
H|STOR|CDOWNTOWNFULLERTON HALLOFF|NANCEANDRECORDS LAGUNAH|LLSC|V|CCENTER
QOIN.HARBORBOULE\/ARD lZC|V|CCENTERPLAZA,ROOl\/\lOl 2403\ELTOROROAD
FULLERTON,CAL|FORN|A92832 SANTA ANA,CAL|FORN|A9270l LAGUNAH|LLS,CAL!FORN|A92653

(714) 834-2500 0 FAX(7'|4)834-2675 0 WWW.OCRECORDER.COM . WWW.OCARCH|VES.COM

Case 2:18-cv-O2643-AB Document 2 Filed 08/02/18 Page 5 of 7 \

 

ATTORNEY (Name and Address): SBN: FOR COURT USE ONLY

Briggs Law Office

400 Market Street

Suite 730

Phi|adelphia, PA 19106

E-MA|LZ

ATTORNEY FoR; Briggs Law Office, LLC
NAME oF couRT, JuoiciAr_ DisTRicr or BRANcH couRr, iF ANY;

 

c/o Briggs Law Office
400 Market Street

Suite 730

Phi|ade|phia, PA 19106

F'LA|NT|FFI v COURT CASE NO.:

Briggs Law Office, LLC
DEFENDANT:
Stanton S Kremsky SSK MD, |nc.

 

18-2643

 

LEVY|NG OFF|CER F|LE NO.:

Proof of Service - Summons 2018509967

 

 

 

 

1. At the time of the service l was at least 18 years of age and not a party to this action.

f\)

. l served copies of the:
f. other (specify documents): Complaint,Exhibits,Summons

3. a. Party served: SSK MD, |nc.

b. Person (other than the party in item 3a) served on behalf of the entity or as an authorized agent (and not a person under item 5b on
whom substituted service was made): Stanton Kremsky, owner A/A

4. Address where party was served: c/o Agent Stanton S. Kremsky, 10102 Bever|y Drive
Huntington Beach, CA 92646

5. | served the party:

a. by personal service. l personally delivered the documents listed in item 2 to the party or person authorized to receive
sen/ice of the process for the party (1) on: 07/12/2018 (2) at: 10:00 Al\/l.

6. The Notice to the Person Served (on summons) was completed as follows:
d. on behalf of: SSK l\/lD, lnc.
underthe following Code of Civll Procedure section: CCP 416.90 (Authorized Person)
7. Person who served papers:

a. Name: D. RlOS, #5890

b. Address: Sheriff‘s Civi| Division Suite 2 909 N. Main Street Santa Ana, CA 92701
c. Telephone Number: (714) 569-3700

d. The fee for service was: $40.00 plus additional costs of $17.25

8. l declare under penalty of perjury under the laws of the State of California thatt foregoing is true and correct

Tuesday, July 17, 2018 <’MU

Sheriff‘s P: rized’Agent

Hearing: <N° |nf°rmati°n> Sandra tchens, Sheriff-Coroner

Remarks

Judicial Council form POS-O1O Attorney/P|aintiff ` ‘ z jt

     

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Case 2:18-cv-O2643-AB Document 2 Filed 08/02/18 Page 6 of 7

Briggs Law Office

400 Market Street

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Philadelphia, PA 19106

*** This certificate ONLY for out of state courts ***
CERT|F|CATE OF ACKNOWLEDGEMENT

 

 

 

 

 

 

, . A notary public or other officer completing this certificate verifies only
State °f Ca"f°'"'a rhe identity cr the individual who signed the document to which this
COU“W Of O"ange certificate is attached, and not the truthfulness, accuracy, or validity of
that document
On fliin ,beforeme Cii/i@li/\ éiéif'@-l¢t,f\lo'fUlY'i/[ PUiOilC, .
personally appeared D l \2 l 05 "ff §§ Ol b , who proved to me on the basis

 

of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that
he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the

person(s), or the entity upon behalf of which the person(s) acted, executed the instrument

l certify under PENALTY of PERJURY under the laws of the state of California that the foregoing paragraph istrue and correct

(NOTARY SEAL) wlTNEss my hand end official eeel.

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~ClNDY GARC|A
OOm|TllSSl°fi # 2116638
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Case 2:18-cv-O2643-AB Document 2 Filed 08/02/18 Page 7 of 7

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PROPERTY RECORDS

HUGH NGUYEN BlRTHANDDEATHRECORDS
C[_ERK-RECORDER MARR|AGELlCENSES/RECORDS
P/\SSPORTS

F|CT|T|OUS BU$|NESS NAMES
NOTARY REGlSTRATlON
ORANGECOUNTYARCH|\/ES

 

NOTARY AUTHENTICATION

State of California
County of Orange}

l, Hugh Nguyen, County Clerl<-Recorder of the County of Orange, State of California, in and for said
County DO HEREBY CERTIFY THAT Cindy Garcia was, on June 22, 2015 a duly commissioned,
qualified and acting NOTARY PUBLIC, in the State of California, County of Orange, empowered to act
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powers of attorney, mortgages, deeds, grants, transfers, and other instruments of writing
executed by any person, and to tal<e depositions and affidavits and administer oaths and
affirmations in all matters incident to the duties of the office or to be used before any court,
judge, officer, or board.

I FURTHER CERTIFY that the seal affixed or impressed on the attached document is the
official seal of said Notary Public and it appears that the name subscribed thereon is the genuine
signature of the person aforesaid, his (or her) signature being of record in this office.

fn Witness threof, f execute this certificate and have hereunto set my hand and affixed the seal
of said County on 24th Day of July, 2018 »

 

Hugh Nguyen, Clerl< - Recorder (Seal)
By / l @‘\~ 0 Deputy Clerk
g Al Obaidi Nad`

NORTHCOUNTYBRANCHOFF|CE ORANGECOUNTY SOUTHCOUNTYBRANCHOFF|CE
HISTOR|CDOWNTOWNFULLERTON HALLOFF|NANCEANDRECORDS LAGUNAHlLL$C|VlCCENTER
QOlN.HARBORBOULE\/ARD lQClV|CCENTERPLAZA,ROOf\/llOl 2403IELTOROROAD
FULLERTON,CAL|FORN|A92832 SANTA ANA,CAL!FORN|A92701 LAGUNAH|LLS,CAL|FORN|A92653

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